Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 1 of 15 Page ID #:9




                   EXHIBIT 1
     Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 2 of 15 Page ID #:10




                                                                                            FIL'ED
                                                                                    Superior Court of California
            1   Jace H. Kim, Esq. (SBN 282039)                                        County of Los Angeles
                Matias N. Castro, Esq. (SBN 308498)
            2   THE DOMINGUEZ FIRM, LLP                                                  NOV 13 2018
                3250 Wilshire Boulevard, Suite 1200
            3   Los Angeles, California 90010                                    9:"1 R ~ ~ o l Ccut
                Telephone: (213) 381-4011                                                Krfsttn~            Deputy
            4   Facsimile: (213) 201 -8212
            5   Attorneys for Plaintiff,
                JHONNY PINTO
            6

            7

            8                         SUPERIOR COURT OF THE ST ATE OF CALIFORNIA,
            9                   FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
           10
           11   JHONNY PINTO, an individual,                      Case No.
                                                                                  CV04593
           12                              Plaintiff,             COMPLAINT FOR DAMAGES FOR:
           13          V.                                         1. DISABILITY DISCRJMINA TION IN
                                                                       VIOLATION OF GOV'T CODE §§12940 ET
           14   FINISHMASTER INC. , a California                       SEO.:
                corporation; and DOES 1 through 20, inclusive,
           15                                                     2. RETALIATION IN VIOLATION OF
                                           Defendants.               GOV'T CODE §§12940 ET SEO.:
           16
                                                                  3. FAIL URE TO PREVENT
           17                                                        DISCRIMINATION AND RETALIATION
                                                                     IN VIOLATION OF GOV'T CODE
           18                                                        §12940(k);
           19                                                     4. FAIL URE TO PROVIDE REASONABLE
                                                                     ACCOMMODATIONS IN VIOLATION OF
           20                                                        GOV'T CODE §§12940 ET SEO.:
           21                                                     5. FAILURE TO ENGAGE IN A GOOD
                                                                     FAITH INTERACTIVE PROCESS IN
           22                                                        VIOLATION OF GOV'T CODE §§12940 ET
                                                                     SEO.:
           23
,.~.                                                              6. WRONGFUL TERMINATION IN
•·-"·
 ··-       24                                                        VIOLATION OF PUBLIC POLICY;
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                                                                         DEMAND OVER $25,000
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no
                                                                  [DEMAND FOR JURY TRIAL]
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                                                                 -1-
                                                        COMPLAINT FOR DAMAGES




                                                                                                         EXH 1
                                                                                                        Page 9
    Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 3 of 15 Page ID #:11




                            COMES NOW PLAINTIFF, JHONNY PINTO, and for causes of action against the
             2       Defendants and each of them, alleges as follows:
             ,.,_,

             4                                                    JURISDICTION

             5               1.     This Court is the proper court, and this action is properly filed in Los Angeles County,
             6       because Defendant' s obligations and liability arise therein, because Defendant maintains offices and

             7       transacts business within Los Angeles County, and because the work that is the subject of this action

             8       was performed by Plaintiff in Los Angeles County.

             9
            10                                                    THE PARTIES

            11              2.      Plaintiff, JHONNY PINTO at all times relevant hereto, was residing in the County of

            12       Los Angeles, State of California.

            13              3.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

            14       hereto, Defendant FINISHMASTER INC. (hereinafter referred to as "DEFENDANT") was, and is, an

            15       Indiana corporation, doing business in the County of Los Angeles, State of California.

            16              4.      DEFENDANT was Plaintiffs employer within the meaning of Government Code

            17       §§12926, subdivision (d), 12940, subdivisions (a),(h),(l), (h)(3)(A), and (i), and 12950, and regularly

            18       employ five (5) or more persons and is therefore subject to the jurisdiction of this court.

            19              5.      The true names and capacities, whether individual, corporate, associate, or otherwise, of

            20       the Defendants named herein as DOES 1-20, inclusive, are unknown to Plaintiff at this time and

            21       therefore said Defendants are sued by such fictitious names. Plaintiff will seek leave to amend this

            22       Complaint to insert the true names and capacities of said Defendants when the same become known to

            23       Plaintiff. Plaintiff is informed and believes, and based thereupon alleges, that each of the fictitiously
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            24       named Defendants are responsible for the wrongful acts alleged herein, and is therefore liable to Plaintiff
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            25       as alleged hereinafter.
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•· ....•    26              6.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
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            27       hereto, Defendants, and each of them, were the agents, employees, managing agents, supervisors,

            28       coconspirators, parent corporation, joint employers, alter egos, successors, and/or joint ventures of the



                                                                         -2-
                                                             COMPLAINT FOR DAMAGES




                                                                                                                     EXH 1
                                                                                                                    Page 10
Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 4 of 15 Page ID #:12




                   other Defendants, and each of them, and in doing the things alleged herein, were acting at least in part

               2   within the course and scope of said agency, employment, conspiracy, joint employer, alter ego status,

              3    successor status and/or joint venture and with the permission and consent of each of the other

               4   Defendants.

               5           7.      Plaintiff is informed and believes, and based thereupon alleges, that Defendants, and

               6   each of them, including those defendants named as DOES 1-20, acted in concert with one another to

               7   commit the wrongful acts alleged herein, and aided, abetted, incited, compelled and/or coerced one

               8   another in the wrongful acts alleged herein, and/or attempted to do so, including pursuant to Government

               9   Code § 12940(i).     Plaintiff is further informed and believes, and based thereupon alleges, that

              10   Defendants, and each of them, including those defendants named as DOES 1-20, and each of them,

              11   formed and executed a conspiracy or common plan pursuant to which they would commit the unlawful

              12   acts alleged herein, with all such acts alleged herein done as part of and pursuant to said conspiracy,

              13   intended to cause and actually causing Plaintiff harm.

              14           8.      Whenever and wherever reference is made in this Complaint to any act or failure to act

              15   by a Defendant or co-Defendant, such allegations and references shall also be deemed to mean the acts

              16   and/or failures to act by each Defendant acting individually, jointly and severally.

              17           9.      Plaintiff has filed complaints of discrimination, retaliation, failure to prevent

              18   discrimination or retaliation, and wrongful termination under Government Code §§ 12940, et seq., the

              19   California Fair Employment and Housing Act ("FEHA") with the California Department of Fair

              20   Employment and Housing ("DFEH"), and has satisfied Plaintiffs administrative prerequisites with

              21   respect to these and all related filings.

              22
              23                    ALTER EGO, AGENCY, SUCCESSOR AND JOINT EMPLOYER
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  .......     24           10.     Plaintiff is informed and believes, and based thereon alleges, that there exists such a
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              25   unity of interest and ownership between DEFENDANT and DOES 1-20 that the individuality and
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  ,.~         26   separateness of defendants have ceased to exist.
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              27           11.     Plaintiff is informed and believes, and based thereon alleges, that despite the formation

              28   of purported corporate existence, DEFENDANT and DOES 1-20 are, in reality, one and the same.



                                                                        -3-
                                                               COMPLAINT FOR DAMAGES




                                                                                                                    EXH 1
                                                                                                                   Page 11
Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 5 of 15 Page ID #:13




                             12.    Accordingly, DEFENDANT and DOES 1-20 constitute the alter egos of each other, and
                 2   the fiction of their separate corporate existence must be disregarded.

                 3           13 .   As a result of the aforementioned facts, Plaintiff is informed and believes, and based
                 4   thereon alleges that DEFENDANT and DOES 1-20 are Plaintiffs joint employers by virtue of a joint

                 5   enterprise, and that Plaintiff was an employee of DEFENDANT and DOES 1-20. Plaintiff performed
                 6   services for each and every one of Defendants, and to the mutual benefit of all Defendants, and all

                 7   Defendants shared control of Plaintiff as an employee, either directly or indirectly, and the manner in

                 8   which DEFENDANT's business was and is conducted.

                 9           14.    Alternatively, Plaintiff is informed and believed and, based thereupon alleges, that as

                10   and between DEFENDANT and DOES 1-20, (1) there is an express or implied agreement of assumption

                11   pursuant to which DOES 1-20 agreed to be liable for the debts of DEFENDANT, (2) the transaction

                12   between DEFENDANT and DOES 1-20 amounts to a consolidation or merger of two or more

                13   corporations, (3) DOES 1-20 is a mere continuation of DEFENDANTS, or (4) the transfer of assets to

                14   DOES 1-20 is for the fraudulent purpose of escaping liability for DEFENDANT's debts. Accordingly,

                15   DOES 1-20 are the successors of DEFENDANT, and are liable on that basis.

                16
                17                                         FACTUAL ALLEGATIONS

                18           15.    JHONNY PINTO (hereinafter "MR. PINTO") was hired by DEFENDANT to work as a

                19   delivery driver in or around the year 2010. MR. PINTO performed all of his job duties satisfactorily

                20   before he was terminated on or about July 29, 2017.

                21           16.    In or around September 2016, while performing his work duties, MR. PINTO suffered a

                22   work accident which resulted in neck, back, and knee injuries.

                23           17.    MR. PINTO reported the accident to DEFENDANT and was referred to a doctor to
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     ••-"·
                24   obtain medical treatment.
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                25           18.    MR. PINTO was evaluated by a doctor, prescribed with medication, and provided with
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     ~·co--·    26   work restrictions.

                27           19.    MR. PINTO promptly informed DEFENDANT of his back injury and that a doctor

                28   ordered him to work with restrictions, including not to lift certain heavy items.



                                                                         -4-
                                                            COMPLAINT FOR DAMAGES




                                                                                                                         EXH 1
                                                                                                                        Page 12
Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 6 of 15 Page ID #:14




                   1           20.     Thereafter, DEFENDANT refused to honor MR. PINTO ' s work restrictions.

                  2            21.      In or around February 2017, MR. PINTO complained to DEFENDANT that

                   3   DEFENDANT's failure to accommodate his work restrictions was aggravating his injuries. In response,

                  4    DEFENDANT issued MR. PINTO a write up for failing to perform an assigned work task that violated

                   5   his lifting restriction.

                   6           22.      Thereafter, DEFENDANT continued to assign MR. PINTO to work that violated his

                   7   doctor imposed work restrictions.

                   8           23.      In or around July 2017, MR. PINTO's doctor issued MR. PINTO a return to work report

                   9   with new work restrictions.           MR. PINTO provided this note to DEFENDANT. In response,

                  10   DEFENDANT told MR. PINTO that there was no work for him with these restrictions. DEFENDANT

                  11   advised MR. PINTO that he would only be permitted to return to work if he went back to the doctor

                  12   and got a note that removed all of his work restrictions.

                  13           24.      Then, on or around July 29 2017, MR. PINTO received a letter from DEFENDANT

                  14   notifying him of his termination.

                  15           25.      Accordingly, DEFENDANT wrongfully terminated MR. PINTO' s employment on or

                  16   about July 29, 2017.

                  17
                  18                                            FIRST CAUSE OF ACTION

                  19    FOR DISABILITY DISCRIMINATION IN VIOLATION OF GOV'T CODE §§12940 ET SEO.

                  20                                          AGAINST ALL DEFENDANTS

                  21           26.      MR. PINTO re-alleges and incorporates by reference all preceding paragraphs, inclusive,

                  22   as though set forth in full herein.

                  23           27.      At all times hereto, the FEHA was in full force and effect and was binding upon
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                  24   DEFENDANT. As such term is used under FEHA, "on the bases enumerated in this part" means or
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                  25   refers to discrimination on the bases of one or more of the protected characteristics under FEHA.
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      t"~'        26           28.      FEHA requires employers to refrain from discriminating against an employee on the
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                  27   basis of disability and/or medical condition, real or perceived, and to prevent discrimination and

                  28



                                                                           -5-
                                                                 COMPLAINT FOR DAMAGES




                                                                                                                            EXH 1
                                                                                                                           Page 13
Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 7 of 15 Page ID #:15




                         harassment on the basis of disability and/or medical condition, real or perceived, and engagement in

                     2   protected activities from occurring.

                     3          29.     MR. PINTO was a member of multiple protected classes as a result of his disability

                     4   and/or medical condition and/or the perception that MR. PINTO was suffering from a disability and/or

                     5   medical condition.

                     6          30.     At all times relevant hereto, MR. PINTO was performing competently in the position he

                     7   held with DEFENDANT.

                     8          31 .    MR. PINTO suffered the adverse employment actions of unlawful discrimination, failure

                     9   to accommodate, failure to investigate, remedy, and/or prevent discrimination, failure to reinstate and/or

                    10   return to work, asked impermissible non-job-related questions, denied hire or promotion, denied

                    11   transfer, denied work opportunities or assignments, and termination, and was harmed thereby .

                    12          32.     MR. PINTO is informed and believes that his disability, medical condition, real and

                    13   perceived, engagement in protected activities and/or some combination of these protected

                    14   characteristics under Government Code § 12926(j) were motivating reasons and/or factors in the

                    15   decisions to subject MR. PINTO to the aforementioned adverse employment actions.

                    16          33.     Said conduct violates the FEHA, and such violations were a proximate cause in MR.

                    17   PINTO's damage as stated below. The foregoing conduct of DEFENDANTS individually, or by and

                    18   through its officers, directors and/or managing agents, was intended by DEFENDANTS to cause injury

                    19   to MR. PINTO or was despicable conduct carried out by DEFENDANTS with a willful and conscious

                    20   disregard of the rights of MR. PINTO or subjected MR. PINTO to cruel and unjust hardship in conscious

                    21   disregard of MR. PINTO ' s rights such as to constitute malice, oppression, or fraud under Civil Code

                    22   §3294, thereby entitling MR. PINTO to punitive damages in an amount appropriate to punish or make

                    23   an example of DEFENDANTS.
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     ~   •• .Jo •
                    24          34.     Pursuant to Government Code §12965(b), MR. PINTO requests a reasonable award of
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                    25   attorneys ' fees and costs, including expert fees, pursuant to the FEHA.
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                                                                COMPLAINT FOR DAMAGES




                                                                                                                                EXH 1
                                                                                                                               Page 14
Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 8 of 15 Page ID #:16




                 1                                         SECOND CAUSE OF ACTION

                 2                  FOR RETALIATION IN VIOLATION OF GOV'T CODE §§12940 ET SEO.

                 3                                         AGAINST ALL DEFENDANTS

                 4           35.      MR. PINTO re-alleges and incorporates by reference all preceding paragraphs, inclusive,

                 5   as though set forth in full herein.

                 6           36.      At all times hereto, the FEHA was in full force and effect and was binding upon

                 7   DEFENDANT.

                 8           37.      These laws set forth in the preceding paragraph require employers to refrain from

                 9   retaliating against an employee for engaging in a protected activity.

                10           38.      MR. PINTO engaged in the protected activities of reporting a disability, resisting

                11   disability discrimination, and requesting an accommodation.

                12           39.      MR. PINTO suffered the adverse employment actions of unlawful discrimination, failure

                13   to accommodate, failure to investigate, remedy, and/or prevent discrimination, failure to reinstate and/or

                14   return to work, asked impermissible non-job-related questions, denied hire or promotion, denied

                15   transfer, denied work opportunities or assignments, and termination, and was harmed thereby.

                16           40.      MR. PINTO is informed and believes that his request for accommodation, resisting

                17   disability discrimination, and reporting a disability were motivating reasons and/or factors in the

                18   decisions to subject MR. PINTO to the aforementioned adverse employment actions.

                19           41.      DEFENDANT violated the FEHA by retaliating against MR. PINTO and terminating

                20   MR. PINTO for attempting to exercise MR. PINTO ' s protected rights, as set forth hereinabove.

                21           42.      MR. PINTO is informed and believes, and based thereon alleges, that the above acts of

                22   retaliation committed by DEFENDANTS were done with the knowledge, consent, and/or ratification

                23   of, or at the direction of, each other DEFENDANT and/or the other Managers.
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     •·-        24           43 .     The above said acts of DEFENDANT constitutes violations of the FEHA and were a
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     f.,, ..)
                25   proximate cause in MR. PINTO ' s damage as stated below.
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     ,.~        26           44.      The foregoing conduct of DEFENDANTS individually, or by and through its officers,
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                27   directors and/or managing agents, was intended by DEFENDANTS to cause injury to MR. PINTO or

                28   was despicable conduct carried out by DEFENDANT with a willful and conscious disregard of the



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                                                             COMPLAfNT FOR DAMAGES




                                                                                                                            EXH 1
                                                                                                                           Page 15
Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 9 of 15 Page ID #:17




                    l     rights of MR. PINTO or subjected MR. PINTO to cruel and unjust hardship in conscious disregard of

                    2     MR. PINTO' s rights such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby
                    ,.,
                    .)    entitling MR. PINTO to punitive damages in an amount appropriate to punish or make an example of
                    4     DEFENDANTS.

                    5            45.      Pursuant to Government Code § 12965(b), MR. PINTO requests a reasonable award of

                    6     attorneys' fees and costs, including expert fees pursuant to the FEHA.

                    7
                    8                                           THIRD CAUSE OF ACTION

                    9                    FAILURE TO PREVENT DISCRIMINATION AND RETALIATION

                   10                                  IN VIOLATION OF GOV'T CODE §12940(k)

                   11                                 AGAINST DEFENDANT ALL DEFENDANTS

                   12             46.     MR. PINTO re-alleges and incorporates by reference all preceding paragraphs, inclusive,

                   13     as though set forth in full herein.

                   14             47.     At all times hereto, the FEHA, including in particular, Government Code § l 2940(k), was

                   15     in full force and effect and was binding upon DEFENDANT. This subsection imposes a duty on

                   16     employers to take all reasonable steps necessary to prevent discrimination and retaliation from

                   17     occurring. As alleged above, DEFENDANTS violated this subsection and breached its duty by failing

                   18     to take all reasonable steps necessary to prevent discrimination and retaliation from occurring.

                   19             48.     The above said acts of DEFENDANT constitutes violations of the FEHA, and were a

                   20     proximate cause in MR. PINTO' s damages as stated below.

                   21             49.     The foregoing conduct of DEFENDANTS individually, or by and through its officers,

                   22     directors and/or managing agents, was intended by DEFENDANTS to cause injury to MR. PINTO or

                   23     was despicable conduct carried out by DEFENDANTS with a willful and conscious disregard of the
     ~   .......
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                   24     rights of MR. PINTO or subjected MR. PINTO to cruel and unjust hardship in conscious disregard of
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         ···-      25     MR. PINTO' s rights such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby
     t,...)


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     (::)
                   26     entitling MR. PINTO to punitive damages in an amount appropriate to punish or make an example of
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                   27     DEFENDANTS.

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                                                                              -8-
                                                                 COMPLAINT FOR DAMAGES




                                                                                                                                EXH 1
                                                                                                                               Page 16
Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 10 of 15 Page ID #:18




                 1           50.     Pursuant to Government Code §12965(b), MR. PINTO requests a reasonable award of

                 2   attorneys' fees and costs, including expert fees pursuant to the FEHA.

                 3
                 4                                         FOURTH CAUSE OF ACTION

                 5                  FOR FAILURE TO PROVIDE REASONABLE ACCOMMODATIONS

                 6                            IN VIOLATION OF GOV'T CODE §§12940 ET SEO.

                 7                                         AGAINST ALL DEFENDANTS

                 8           51 .    MR. PINTO re-alleges and incorporates by reference all preceding paragraphs, inclusive,

                 9   as though set forth in full herein.

                10           52.     At all times hereto, the FEHA, including in particular Government Code §12940(m),

                11   was in full force and effect and was binding upon DEFENDANT. This subsection imposes a duty on

                12   employers to make reasonable accommodation for the known physical disability of an employee.

                13           53.     At all relevant times, MR. PINTO was a member of a protected class within the meaning

                14   of, in particular, Government Code §§12940(a) & 12986(1) et seq. because MR. PINTO had a real or

                15   perceived disability, a physical condition that affected MR. PINTO' s major life activities, and a real or

                16   perceived medical condition of which DEFENDANT had both actual and constructive knowledge.

                17           54.     At all times herein, MR. PINTO was willing and able to perform the duties and functions

                18   of the position in which MR. PINTO was employed, or could have performed the duties and functions

                19   of that position with reasonable accommodations. At no time would performance of the functions of

                20   the employment position with a reasonable accommodation for MR. PINTO 's disability or medical

                21   condition, actually or as perceived by DEFENDANT, have been a danger to MR. PINTO ' s or any other

                22   person's health or safety. Accommodation of MR. PINTO' s disability or medical condition, real or

                23   perceived by DEFENDANTS, would not have imposed an undue hardship on DEFENDANT.
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                24   DEFENDANT failed and refused to accommodate MR. PINTO's disability, failed to engage in the
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                25   interactive process with MR. PINTO and continued to violate this obligation, up to and including the
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                26   date of MR. PINTO's termination or, if Defendant contends MR. PINTO was never terminated, through

                27   the present and ongoing.

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                                                             COMPLAINT FOR DAMAG ES




                                                                                                                            EXH 1
                                                                                                                           Page 17
Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 11 of 15 Page ID #:19




                  1          55 .    The above said acts of DEFENDANT constitutes violations of the FEHA and were a

                  2   proximate cause in MR. PINTO ' s damage as stated below.

                  3          56.     The foregoing conduct of DEFENDANTS individually, and/or by and through their

                  4   officers, directors, and/or managing agents, was intended by DEFENDANTS to cause injury to MR.

                  5   PINTO or was despicable conduct carried out by DEFENDANTS with a willful and conscious disregard

                  6   of the rights of MR. PINTO or subjected MR. PINTO to cruel and unjust hardship in conscious disregard

                  7   of MR. PINTO ' s rights such as to constitute malice, oppression, or fraud under Civil Code §3294,

                  8   thereby entitling MR. PINTO to punitive damages in an amount appropriate to punish or make an

                  9   example of DEFENDANTS.

                 10          57.      Pursuant to Government Code § l 2965(b ), MR. PINTO requests a reasonable award of

                 11   attorneys ' fees and costs, including expert fees pursuant to the FEHA.

                 12

                 13                                          FIFTH CAUSE OF ACTION

                 14             FOR FAILURE TO ENGAGE IN A GOOD FAITH INTERACTIVE PROCESS

                 15                           IN VIOLATION OF GOV'T CODE §§12940 ET SEO.

                 16                                         AGAINST ALL DEFENDANTS

                 17           58.     MR. PINTO re-alleges and incorporates by reference all preceding paragraphs, inclusive,

                 18   as though set forth in full herein.

                 19           59.     At all times hereto, the FEHA, including in particular Government Code§ 12940(n), was

                 20   in full force and effect and was binding upon DEFENDANT. This subsection imposes a duty on

                 21   employers to engage in a timely, good faith, interactive process with the employee to determine effective

                 22   reasonable accommodations, if any, in response to a request for reasonable accommodation by an

                 23   employee with a known physical disability or known medical condition and/or becoming aware of the
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      ~,.,..:,
                 24   employee's need for accommodation.
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      (.~ )
                 25           60.     At all relevant times, MR. PINTO was a member of a protected class within the meaning
      ,.,,_)

      ..
      (::)
          ~      26   of, in particular, Government Code§§ 12940(a) & 12986(1) et seq. because MR. PINTO had a physical
      no
                 27   disability that affected MR. PINTO ' s major life activities, and medical condition of which

                 28   DEFENDANT had both actual and constructive knowledge.



                                                                         -10-
                                                              COMPLAINT FOR DAMAGES




                                                                                                                            EXH 1
                                                                                                                           Page 18
Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 12 of 15 Page ID #:20




                       1              61.     MR. PINTO reported the disability to DEFENDANTS and requested accommodation,

                       2       triggering DEFENDANT'S obligation to engage in the interactive process with MR. PINTO, but at all
                       ,.,_,
                               times herein, DEFENDANT failed and refused to do so.             Thereafter, despite DEFENDA T' S

                       4       continuing obligation to engage in the interactive process with MR. PINTO and MR. PINTO' s repeated

                       5       requests for accommodation that would permit him to continue working, DEFENDANT failed and

                       6       refused to have any dialogue with MR. PINTO whatsoever on any of these occasions, and

                       7       DEFENDANT violated, and continued to violate this obligation up to and including the date of MR.

                       8       PINTO' s termination or, if Defendant contends MR. PINTO was never terminated, through the present

                       9       and ongoing.

                      10              62.     The above said acts of DEFENDANT constitutes violations of the FEHA and were a

                      11       proximate cause in MR. PINTO ' s damage as stated below.

                      12              63 .    The foregoing conduct of DEFENDANTS individually, and/or by and through its

                      13       officers, directors, and/or managing agents, was intended by DEFENDANTS to cause injury to MR.

                      14       PINTO or was despicable conduct carried out by DEFENDANTS with a willful and conscious disregard

                      15       of the rights of MR. PINTO or subjected MR. PINTO to cruel and unjust hardship in conscious disregard

                      16       of MR. PINTO' s rights such as to constitute malice, oppression, or fraud under Civil Code §3294,

                      17       thereby entitling MR. PINTO to punitive damages in an amount appropriate to punish or make an

                      18       example of DEFENDANTS.

                      19              64.     Pursuant to Government Code §12965(b), MR. PINTO requests a reasonable award of

                      20       attorneys ' fees and costs, including expert fees pursuant to the FEHA.

                      21
                      22                                             SIXTH CAUSE OF ACTION

                      23                                         FOR WRONGFUL TERMINATION
      ......                            IN VIOLATION OF THE PUBLIC POLICY OF THE STATE OF CALIFORNIA
      .........       24
      ,.....
      t..~.)          25                                             AGAINST ALL DEFENDANTS
      ,..,..,
      n::,
       ~   ........   26               65.     MR. PINTO re-alleges and incorporates by reference all preceding paragraphs, inclusive,
      1.:)0

                      27       as though set forth in full herein.

                      28       Ill



                                                                                  -11 -
                                                                       COMPLAINT FOR DAMAG ES




                                                                                                                                   EXH 1
                                                                                                                                  Page 19
       Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 13 of 15 Page ID #:21




                1          66.     At all relevant times mentioned in this complaint, the FEHA was in full force and effect
                2   and was binding on DEFENDANT. This law requires employers to refrain, among other things, from

                3   discriminating against any employee on the basis of disability, medical condition, real or perceived, and
                4   from retaliating against any employee who engages in protected activity.

                5          67.     At all times mentioned in this complaint, it was a fundamental policy of the State of

                6   California that employers cannot discriminate and/or retaliate against any employee on the basis of

                7   disability, medical condition, real or perceived, and/or engagement in protected activity.

                8          68.     MR. PINTO believes and thereon alleges that his disability and/or medical condition,

                9   real or perceived, engagement in protected activity with respect to these protected classes, and/or some

               10   combination thereof, were factors in DEFENDANT'S conduct as alleged hereinabove.

               11          69.     Such discrimination and retaliation, resulting in the wrongful termination of MR.

               12   PINTO ' s employment on the basis of disability, medical condition, real or perceived, MR. PINTO ' s

               13   engagement in protected activity, and/or some combination of these factors, were a proximate cause in

               14   MR. PINTO' s damages as stated below.

               15          70.     The above said acts of DEFENDANT constitute violations of the Government Code and

               16   the public policy of the State of California embodied therein as set forth above. DEFENDANTS

               17   violated these laws by discriminating and retaliating against MR. PINTO and terminating MR. PINTO' s

               18   employment in retaliation for exercise of protected rights.

               19          71.     The foregoing conduct of DEFENDANTS individually, or by and through its officers,

               20   directors and/or managing agents was intended by DEFENDANTS to cause injury to MR. PINTO or

               21   was despicable conduct carried out by DEFENDANTS with a willful and conscious disregard of the

               22   rights of MR. PINTO or subjected MR. PINTO to cruel and unjust hardship in conscious disregard of

               23   MR. PINTO' s rights such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby
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                    entitling MR. PINTO to punitive damages in an amount appropriate to punish or make an example of
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                                                           COMPLAINT FOR DAMAGES


                                                                                                                  EXH 1
                                                                                                                 Page 20
     Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 14 of 15 Page ID #:22




          1                                             PRAYER FOR RELIEF
          2           WHEREFORE, MR. PINTO seeks judgment against Defendant and each of them, in an amount

          3   according to proof.
          4           1.      For a money judgment representing compensatory damages including lost wages,

          5   earnings, commissions, retirement benefits, and other employee benefits, and all other sums of money,

          6   together with interest on these amounts; for other special damages; and for general damages for mental

          7   pain and anguish and emotional distress and loss of earning capacity;

          8           2.      For prejudgment interest on each of the foregoing at the legal rate from the date the

          9   obligation became due through the date of judgment in this matter;

         10           3.      For restitutionary disgorgement of profits garnered as a result of Defendant's unlawful

         11   conduct, failure to pay rest period wages and other compensation in accordance with the law;

         12           4.      For injunctive relief barring Defendant's discriminatory employment policies and

         13   practices in the future ;

         14           5.      For punitive damages, pursuant to Civil Code §§3294 in amounts sufficient to punish

         15   Defendant for the wrongful conduct alleged herein and to deter such conduct in the future;

         16           6.      For costs of suit, attorneys' fees, and expert witness fees pursuant to the FEHA and/or

         17   any other basis; For post-judgment interest; and

         18           7.      For any other relief that is j ust and proper.

         19
              DATED: November 9, 2018                                THE DOMINGUEZ FIRM, LLP
         20
         21
                                                                     By:
         22                                                                Jace H. Kim, Esq.
                                                                           Matias N. Castro, Esq.
         23                                                                Attorneys for Plaintiff
..                                                                         JHONNY PINTO
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                                                       COMPLAINT FOR DAMAGES


                                                                                                         EXH 1
                                                                                                        Page 21
Case 2:18-cv-10773-CJC-AS Document 1-1 Filed 12/31/18 Page 15 of 15 Page ID #:23




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             2                                    JURY TRIAL DEMANDED
             3
                      MR. PINTO demands trial of all issues by jury.
             4

             5   DATED: November 9, 2018                       THE DOMINGUEZ FIRM, LLP

             6

             7                                                  By: ~
                                                                        aceRKim,Esq.
             8                                                         Matias N. Castro, Esq.
                                                                       Attorneys for Plaintiff
             9                                                         JHONNY PINTO

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                                                    COMPLAINT FOR DAMAGES




                                                                                                  EXH 1
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